                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               ASHEVILLE DIVISION
                           CASE NO.: 1:18-CR-68-RJC-WCM


 UNITED STATES OF AMERICA

                  v.

 WANDA SKILLINGTON GREENE



                        DEFENDANT’S SECOND MOTION TO SEAL

       NOW COMES Defendant Wanda Greene, through counsel and pursuant to LCrR 49.1.1,

and moves that her Motion to Continue Sentencing be placed under seal. In support of this motion,

the defense shows the Court:


   1. On July 19, 2019, this Court denied the defense motion to seal without prejudice.

   2. The Motion to Continue references the government’s ongoing investigation into public

       corruption in Buncombe County. Rule 6 of the Federal Rules of Criminal Procedure

       imposes a broad rule of secrecy over matters occurring before the grand jury. The

       government has an independent interest in protecting the confidentiality of its

       investigation.

   3. Sealing is therefore necessary and there are no alternatives in this instance.

   4. The defense asks for sealing until the current grand jury investigation is complete. The

       defense has no objection to unsealing after the grand jury investigation is complete.

   5. Assistant U.S. Attorney Richard Edwards has been consulted and does not object to this

       motion.


Dated: July 25, 2019

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Dated: July 25, 2019

                             Respectfully submitted,

                             /s/ Noell P. Tin
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                             CERTIFICATE OF SERVICE


       The undersigned hereby certifies that he has served the foregoing DEFENDANT’S
SECOND MOTION TO SEAL with the Clerk of Court using the CM/ECF system, which will
send notification of such filing to opposing counsel:


                                Richard Edwards
                                Assistant U.S. Attorney
                                richard.edwards2@usdoj.gov


      Dated: July 25, 2019
                                             /s/ Noell P. Tin




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